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                                    MINUTES



 CASE NUMBER:           1:17-CR-00101-LEK-1
 CASE NAME:             United States of America v (01) Anthony T. Williams


      JUDGE:      Kenneth J. Mansfield          REPORTER:

      DATE:       02/01/2019                    TIME:


COURT ACTION: EP:          Defendant (01) Anthony T. Williams’[418] SEVENTH
                           MOTION FOR ORDER TO SHOW CAUSE AND
                           REQUEST FOR EXPEDITED HEARING will be
                           considered by Magistrate Judge Kenneth J. Mansfield as a Non
                           Hearing Motion.

Government’s Memorandum in Opposition is due February 8, 2019.

Defendant (01) Anthony T. Williams’[418] Seventh Motion for Order to Show Cause and
Request for Expedited Hearing will be taken under submission thereafter. Court to issue
Order.




Submitted by: Bernie Aurio, Courtroom Manager
